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5    Attorney for Defendant
     Omar Sandoval
6
                      IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,         )   Case No. Cr.S-08-93 KJM - EFB
10                                     )
                Plaintiff,             )   STIPULATION AND ORDER MODIFYING
11                                     )   CONDITION OF PRE-TRIAL RELEASE
          vs.                          )
12                                     )
                                       )
13   OMAR SANDOVAL,                    )
                                       )
14                                     )
                Defendant              )
15                                     )
16

17        By this Court’s previous order the above named defendant
18
     was released on pre-trial conditions. For the reasons stated
19
     below, it is hereby stipulated and agreed between the parties,
20
     defendant Omar Sandoval, thorough his counsel, Michael B.
21
     Bigelow and the United States through its counsel, Michael
22
     Anderson, that the conditions of pretrial release be modified as
23
     set forth below. This stipulation has been discussed with Pre-
24
     Trial Services Officer, Beth Wettland, Supervisory U.S. Pretrial
25
     Services Officer, and she concurs.


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1         Mr. Sandoval Omar Sandoval has been subject to Pretrial
2    Services supervision since April of 2008. Since that time, he
3
     has remained in compliance and has never submitted a positive
4
     drug test. Accordingly, it is agreed that Mr. Sandoval’s drug
5
     testing (condition number 12) be removed.
6
          All other conditions of release would remain in full force
7
     and effect.
8

9
     IT IS SO STIPULATED
10

11

12   DATED: January 21, 2014              /S/MICHAEL B. BIGELOW
                                          Michael B. Bigelow
13                                        Attorney for Defendant Sandoval

14

15

16   DATED: January 21, 2014              /S/ MICHAEL ANDERSON
                                          Michael Anderson
17
                                          Assistant United States Attorney
18

19   IT IS SO ORDERED.

20   Dated:     January 21, 2014.

21

22

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                                           -2-
